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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 LAURA K. MAIS,

       Plaintiff,

 v.

 FIRSTSOURCE ADVANTAGE, LLC,

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

       3.     With respect to Plaintiff’s claim under the FDCPA, this Court has

 federal question jurisdiction as the claim arises under federal law – the FDCPA.
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        4.    With respect to Plaintiff’s claim under the TCPA, the Court has both

 diversity jurisdiction under 28 U.S.C. §1332 and supplemental jurisdiction under

 28 U.S.C. §1367. The citizenship of the parties are diverse, Florida and New York.

 Plaintiff alleges in excess of 50 violations of the TCPA. The TCPA provides for

 damages of up to $1,500 per violation. Accordingly, the amount is controversy is

 in excess of $75,000, and exceeds the threshold amount required to establish

 diversity jurisdiction.

                                      PARTIES

        5.    Plaintiff, LAURA K. MAIS, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.

        6.    Defendant, FIRSTSOURCE ADVANTAGE, LLC, is a limited

 liability company. All its members are citizens of the State of New York with its

 principal place of business at 205 Bryant Woods South, Amherst, New York

 14228.

        7.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        8.    Defendant regularly collects or attempts to collect debts for other

 parties.

        9.    Defendant is a “debt collector” as defined in the FDCPA.




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       10.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

       11.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

       12.    Defendant left the following messages on Plaintiff’s voice mail on her

 cellular telephone on or about the dates stated:

       November 4, 2009 at 5:10 PM – Pre-Recorded Message
       This is a confidential and important message meant solely for Laura K.
       Mais. If you are not Laura K. Mais, do not listen to this message. By
       continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       November 13, 2009 at 5:18 PM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       November 14, 2009 at 10:09 AM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

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       November 18, 2009 at 5:08 PM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       November 21, 2009 at 11:08 AM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       November 28, 2009 at 10:14 AM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       November 30, 2009 at 5:10 PM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       December 3, 2009 at 5:06 PM – Pre-Recorded Message
       Confiden—. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.

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       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       December 9, 2009 5:10 PM – Pre-Recorded Message
       Confiden—. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       December 15, 2009 at 5:06 PM – Pre-Recorded Message
       Confiden—. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       December 15, 2009 at 6:17 PM – Pre-Recorded Message
       --fidential. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       December 16, 2009 at 5:00 PM – Pre-Recorded Message
       Confiden—. This is a confidential and important message meant solely for
       Laura K. Mais. If you are not Laura K. Mais, do not listen to this message.
       By continuing to listen to this message, you are acknowledging that you are
       Laura K. Mais. The law requires that we notify you that this is a call from
       Firstsource Advantage, LLC, a debt collection company. This is an attempt



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       to collect a debt and any information obtained will be used for that purpose.
       Please call our office toll-free today at 800-430-7345. Thank you.

       13.    Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       14.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       15.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone

 in excess of 50 occasions.

       16.    Plaintiff did not expressly consent to Defendant’s placement of

 telephone calls to Plaintiff’s cellular telephone by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

 placement of the calls.

       17.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

       18.    Defendant willfully or knowingly violated the TCPA.

                         COUNT I
    TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
             CALLS TO A CELLULAR TELEPHONE

       19.    Plaintiff incorporates Paragraphs 1 through 16.




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        20.    Defendant engaged in conduct the natural consequence of which is to

 harass, oppress, or abuse by using an automatic telephone dialing system or pre-

 recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

 See Order Denying Defendants’ Motion to Dismiss Count IV (DE 19), Clarke,

 Kerryjoe N.. v Weltman, Weinberg & Reis, Co., et al., Case No.: 10-60600-Civ-

 Cohn/Seltzer (S.D. Fla July 15, 2010), (holding that the same conduct can

 separately support a violation of both the FDCPA and TCPA).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT II
   VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        21.    Plaintiff incorporates Paragraphs 1 through 16.

        22.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial

 voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

 (b)(1)(A)(iii).




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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    a declaration that Defendant’s calls violate the TCPA;

              c.    a permanent injunction prohibiting Defendant from placing

              non-emergency calls to the cellular telephone of any person using an

              automatic telephone dialing system or pre-recorded or artificial voice

              without the prior express consent of the called party; and

              d.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

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